               Case 5:16-cv-01960-EJD Document 19 Filed 07/14/16 Page 1 of 2



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 5                            UNITED STATES DISTRICT COURT
 6
                                        FOR THE
                             NORTHERN DISTRICT OF CALIFORNIA
 7

 8                                  )
     EUGENIO GOROSPE, an Individual on                  Case No.: 5:16-cv-01960-EJD-NMC
                                    )
     behalf of himself and all others similarly
 9                                  )                   STIPULATION AND JOINT
     situated, ,                    )                   REQUEST FOR DISMISSAL OF
10               Plaintiff,         )                   NAMED PLAINTIFF WITH
                                    )                   PREJUDICE AND PUTATIVE CLASS
11                  vs.             )                   WITHOUT PREJUDICE
                                    )
12   PORTFOLIO RECOVERY ASSOCIATES, )
     LLC,                           )
13                                  )
                Defendant.
14

15
            The undersigned parties hereby stipulate and agree that pursuant to F.R.C.P.
16
     41(a)(1)(A)(2) the claims of the named Plaintiff in this action be and hereby are dismissed
17
     with prejudice and the claims of the putative class in this action be and hereby are dismissed
18
     without prejudice. Each party shall bear its own costs and attorneys’ fees.
19

20
            Dated: July 14, 2016
21

22                                                        s/ Rory Leisinger_______
23
                                                          Attorney for Plaintiff
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     Case 5:16-cv-01960-EJD Document 19 Filed 07/14/16 Page 2 of 2




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